                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )       NO. 3:10-00258
                                                    )       JUDGE CAMPBELL
ALFREDO HERNANDEZ                                   )

                                            ORDER

       The Court convened a sentencing hearing in this case on October 4, 2013. At the request of

the parties, the sentencing hearing is RESCHEDULED for October 23, 2013, at 9:00 a.m.

       Any further objections to the Presentence Investigation Report shall be filed by October 11,

2013. The Presentence Investigation Report shall be revised, if necessary, by October 18, 2013.

       It is so ORDERED.

                                                    ____________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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